                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA,                              )
                                                        )
 v.                                                     )     No. 3:05-CR-32
                                                        )     (Phillips)
 SHEILA ADAMS                                           )


                                         ORDER

              This matter is before the court on the government’s motion to correct error

 and to amend the judgment in this case [Doc. 450]. The government states that the

 amount of currency forfeited in the Final Judgment is incorrect. The correct amount to be

 included should be $158,400.00. In support of the motion, the government states that

 $128,020.00 in United States currency was seized from the defendant on November 21,

 2006; and $30,380.00 in United States currency was seized from defendant on November

 16, 2006. This is a total of $158,400 in United States currency.



              For the good cause shown, the government’s motion to amend the judgment

 in this case [Doc. 450] is GRANTED. The clerk is DIRECTED to amend the judgment at

 page 6, Schedule of Payments, to reflect that the defendant shall forfeit the defendant’s

 interest in $158,400.00 in United States currency to the United States.

              IT IS SO ORDERED.

                                          ENTER:


                                                s/ Thomas W. Phillips
                                              United States District Judge




Case 3:05-cr-00032-TAV-HBG       Document 476      Filed 06/28/07    Page 1 of 1    PageID
                                       #: 501
